        Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 1 of 16




                                   STATEMENT OF FACTS

        Your affiant, Stephen R. Hart, is a Special Agent of the Federal Bureau of Investigation
(“FBI”), and has been so employed since February 2004. I am currently assigned to the FBI
Washington Field Office in Washington, D.C. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Special Agent with the FBI,
I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of violations of Federal criminal laws.

                                           Background

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020 . The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection . Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
        Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 2 of 16




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                Unlawful Entry into Restricted Grounds
               and Assault of Officer J.M. and Other Law Enforcement at the U.S. Capitol

        A number of law enforcement officers were assaulted while attempting to prevent rioters
from entering the U.S. Capitol. These assaults occurred both inside the Capitol building, as well
as on the steps outside of the Capitol and on the grounds of the Capitol.

       The FBI has obtained bodyworn camera (“BWC”) footage from the Metropolitan Police
Department (“MPD”) that depicts an assault of MPD Officer J.M. (“J.M.”) and other law
enforcement officers that occurred on the Capitol grounds, near the bike rack barricade line at the
base of the West Front of the Capitol building, several yards south of the media tower. J.M. had
been dispatched to that location in order to assist U.S. Capitol Police officers with protecting the
Capitol grounds and building.

       Your affiant reviewed BWC footage depicting the assault. As seen in the BWC footage,
at approximately 1:37 pm EST, an individual wearing a red “Make America Great Again” hat,
orange and yellow scarf, gray or black “Dakine” backpack with a red logo, black coat, and blue
jeans, with a gas mask with a red mouthpiece around his neck—later identified as Evan
NEUMANN (“NEUMANN”)—is seen approaching and stopping in front of J.M. who is
barricaded behind a metal gate. NEUMANN then puts on the gas mask and continues standing
near J.M. in front of the barricade for several minutes.




                                                 2
        Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 3 of 16




        At approximately 1:45 pm, NEUMANN removes his gas mask and begins speaking
directly at the line of officers, including J.M. NEUMANN says that J.M is “defending the people
who are going to kill your fucking children . . . they are gonna kill your fucking children, they
are gonna rape them, they are gonna imprison them, and you’re defending the people that are going
to do this to your children.” NEUMANN then continues to verbally abuse J.M and the other
officers. NEUMANN also refuses orders by police to move away from the barricade, telling the
officers “no, you can’t tell me what to do, you piece of shit.”




       At approximately 1:49 pm, NEUMANN temporarily stops engaging with the officers and
puts his gas mask back on his face. He remains standing directly in front of J.M. for several
minutes. At approximately 1:55 pm, NEUMANN, who has again removed his gas mask, resumes

                                               3
        Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 4 of 16




berating J.M., stating that the officers “kneel to Antifa because they’re little bitches,” and saying
that J.M. has “no pride, no honor, you’re nothing.” He then threatens J.M. that the officers will be
“overrun” by the crowd, and says “I’m willing to die, are you?”

       At approximately, 1:56 pm, J.M. and the other officers begin placing their hands on the
metal barricades to reinforce them as rioters attempt to push the barricades back into the police
line. Officers also repeatedly order rioters to step back from the barricades. At approximately
1:57 pm, the crowd becomes more agitated and NEUMANN grabs the barricade with his hand.




        NEUMANN then tightens his grip and forcefully shoves the metal barricade into J.M and
the line of officers.




                                                 4
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 5 of 16




       Officers attempt to push the barricade back into place as NEUMANN keeps his grip on the
barricade. An officer standing to J.M.’s left attempts to move NEUMANN off of the barricade

                                              5
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 6 of 16




but NEUMANN stays in place and continues wrestling over the barricade. J.M. then tries to move
NEUMANN away, as NEUMANN has both hands firmly clutching the barricade as he attempts
to push into the line of officers.




        NEUMANN then removes his left hand from the barricade and reaches over the barricade
to grab or strike at J.M.




                                              6
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 7 of 16




    Next, NEUMANN punches toward J.M. and the officer to J.M.’s left with a closed fist.
NEUMANN appears to make contact with the officers with his fist.




       After striking the officers, NEUMANN, now joined by more rioters, resumes his attempts
to break through the metal barricades. This time, NEUMANN and the other rioters succeed in
breaking down the barricades by ripping them back and away from J.M. and the other officers.




                                             7
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 8 of 16




       As J.M. attempts to pull the metal barricade out of NEUMANN’S hands, NEUMANN,
now using the barricade as a battering ram, lifts the barricade off the ground and rushes toward
J.M. and the other officers, crossing into the now-broken police line and striking them with the
barricade.




                                               8
Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 9 of 16




                               9
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 10 of 16




       After striking J.M. and the other officers with the metal barricade, NEUMANN retreats
back down the steps and away from the now-broken police line.




                                            10
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 11 of 16




       Additional BWC footage shows that NEUMANN remained on restricted grounds at the
U.S. Capitol at least past 5:00 pm. At approximately 5:08 pm, NEUMANN is seen resisting
repeated orders by law enforcement to leave the Capitol steps, calling the officers “motherfuckers”
and “fucking murderers.”




        On January 27, 2021, based on the BWC footage, the FBI created a profile for NEUMANN
in its “Be On The Lookout” (BOLO) Assault on Federal Officer (AFO) list for the ongoing U.S.
Capitol Riot investigations.




        An anonymous tipster identifying itself as a family friend contacted the National Threat
Operations Center and identified the foregoing BOLO as Evan Neumann, and provided a residence
in Mill Valley, CA.

       Your affiant has also compared the BOLO photos of NEUMANN with a 2018 press report
by the local San Francisco, CA, ABC news affiliate documenting the case of Evan and Mark
Neumann after they were arrested for violating orders not to enter a disaster area after a wildfire.
During the news story, “Evan Neumann” was interviewed. Your affiant can confirm that the
individual in the news interview resembles the individual in the BOLO photos.


                                                11
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 12 of 16




       Your affiant has also compared the BOLO photos of NEUMANN to a March 2019 passport
application photo submitted by NEUMANN and can confirm that the individual in the passport
photo resembles the individual in the BOLO photos.

       A review of NEUMANN’s LinkedIn profile shows that he attended the Ukrainian Orange
Revolution in 2004 and 2005. In the photos and videos described above, NEUMANN is seen
wearing an orange and yellow scarf . Open source research reveals that a scarf commemorating
the Ukrainian Orange Revolution is similar in appearance to the scarf worn by NEUMANN at the
Capitol.




       Additionally, your affiant made various database and open source queries and was able to
confirm the anonymous tipster’s statement that NEUMANN resides at the residence in Mill
Valley, CA. NEUMANN listed that location as his home address in his March 2019 passport


                                              12
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 13 of 16




application. Law enforcement database queries with Accurint and CLEAR also linked
NEUMANN with the same home address.

        On February 16, 2021, members of the FBI’s Special Surveillance Group (SSG) observed
NEUMANN leaving his residence in Mill Valley, CA, and followed him to the international
terminal at San Francisco International Airport (SFO). While at SFO, NEUMANN was
interviewed by FBI special agents. During the interview, NEUMANN admitted to flying to
Washington, D.C., on January 5, 2021, and departing D.C. on January 7, 2021. NEUMANN
declined to answer if he entered any federal buildings during his trip . NEUMANN admitted that
he interacted with law enforcement in Washington, D.C., but declined to elaborate further or to
answer if he had any physical engagement with law enforcement. Neumann confirmed his cellular
number as a number ending in -9343.

       According to records obtained through a search warrant served on Google, a mobile device
associated with phone number 415-609-9343 was present at the U.S. Capitol on January 6,
2021. Google estimates device location using sources including GPS data and information about
nearby Wi-Fi access points and Bluetooth beacons. This location data varies in its accuracy,
depending on the source(s) of the data. As a result, Google assigns a “maps display radius” for
each location data point. Thus, where Google estimates that its location data is accurate to within
10 meters, Google assigns a “maps display radius” of 10 meters to the location data point. Finally,
Google reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time.

        In this case, Google records showed that the mobile device associated with phone number
415-609-9343 was present at the locations illustrated in the map below. The mobile device was
within the U.S. Capitol area at locations reflected by each darker blue circle in the map below,
with the “maps display radius” reflected by each lighter blue ring around eac h darker blue circle.
As illustrated in the map, the listed locations encompass areas that are at least partially within the
U.S. Capitol building and/or restricted areas of the U.S. Capitol grounds between approximately
2:26 pm and 5:38 pm on January 6, 2021.




                                                 13
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 14 of 16




        The FBI has reviewed the available information for phone number 415-609-9343 in order
to determine whether there was any evidence that devices associated with that phone number could
have lawfully been inside the U.S. Capitol building or restricted areas of the U.S. Capitol grounds
on January 6, 2021. The information for that phone number did not match any information for
persons lawfully within the Capitol. Accordingly, your affiant believes that the individual
possessing this device was not authorized to be within the U.S. Capitol building or restricted areas
of the U.S. Capitol grounds on January 6, 2021.

       Finally, on March 12, 2021, your affiant spoke to a personal acquaintance of NEUMANN.
Your affiant then emailed the acquaintance images used in the BOLO as well as other images taken
from other BWCs and open sources. The acquaintance positively identified the individual as
NEUMANN, who resides at an address in Mill Valley, CA. The acquaintance confirmed that it
had seen NEUMANN many times in social settings.



                                                14
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 15 of 16




                                        Probable Cause

    Based on the foregoing, your affiant submits that there is probable cause to believe that
NEUMANN violated the following:

       1. 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose,
          impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 as an
          officer or employee of the United States while engaged in or on account of the
          performance of official duties. Persons designated within section 1114 include any
          person assisting an officer or employee of the United States in the performance of their
          official duties.

       2. 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any
          act to obstruct, impede, or interfere with any fireman or law enforcement officer
          lawfully engaged in the lawful performance of his official duties incident to and during
          the commission of a civil disorder which in any way or degree obstructs, delays, or
          adversely affects commerce or the movement of any article or commodity in commerce
          or the conduct or performance of any federally protected function. For purposes of
          Section 231 of Title 18, a federally protected function means any function, operation,
          or action carried out, under the laws of the United States, by any department, agency,
          or instrumentality of the United States or by an officer or employee thereof. This
          includes the Joint Session of Congress where the Senate and House count Electoral
          College votes.

       3. 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime, with respect to
          subdivision (a)(1), to knowingly enter or remain in any restricted building or grounds
          without lawful authority to do so; with respect to subdivision (a)(2) to knowingly, and
          with intent to impede or disrupt the orderly conduct of Government business or official
          functions, engage in disorderly or disruptive conduct in, or within such proximity to,
          any restricted building or grounds when, or so that, such conduct, in fact, impedes or
          disrupts the orderly conduct of Government business or official functions; and with
          respect to subdivision (a)(4) to knowingly engage in any act of physical violence
          against any person or property in any restricted building or grounds; or attempt or
          conspire to do so. For purposes of Section 1752 of Title 18, a “restricted building”
          includes a posted, cordoned off, or otherwise restricted area of a building or grounds
          where the President or other person protected by the Secret Service, including the Vice
          President, is or will be temporarily visiting; or any building or grounds so restricted in
          conjunction with an event designated as a special event of national significance.

       4. 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly engage
          in an act of physical violence in the Grounds or any of the Capitol Buildings.




                                                15
       Case 1:21-mj-00331-GMH Document 1-1 Filed 03/23/21 Page 16 of 16




    As such, your affiant respectfully requests that the court issue an arrest warrant for
NEUMANN. The statements above are true and accurate to the best of my knowledge and belief.

                                                      Respectfully submitted,



                                                      _________________________________
                                                      Stephen R. Hart
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed . R. Crim. P. 4.1 by
telephone, this 23rd day of March 2021.                                    Digitally signed by G.
                                                                       Michael Harvey
                                                                       Date: 2021.03.23
                                                                       14:00:59 -04'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY,
                                                      U.S. MAGISTRATE JUDGE




                                                 16
